    Case 17-05661         Doc 60      Filed 06/17/18 Entered 06/17/18 23:20:05                 Desc Imaged
                                     Certificate of Notice Page 1 of 3
Form ntcdsm

                                  UNITED STATES BANKRUPTCY COURT
                                        Northern District of Illinois
                                             Eastern Division
                                             219 S Dearborn
                                                7th Floor
                                            Chicago, IL 60604


                                                  Case No.: 17−05661
                                                       Chapter: 13
                                                Judge: Donald R Cassling

In Re:
   Daniel M Ivans
   8200 N. Lincoln Ave., Apt 313
   Skokie, IL 60077
Social Security / Individual Taxpayer ID No.:
   xxx−xx−5667
Employer Tax ID / Other nos.:


                                            NOTICE OF DISMISSAL



You are hereby notified that an Order Dismissing the above case was entered on June 14, 2018




                                                            FOR THE COURT


Dated: June 15, 2018                                        Jeffrey P. Allsteadt , Clerk
                                                            United States Bankruptcy Court
          Case 17-05661            Doc 60       Filed 06/17/18 Entered 06/17/18 23:20:05                         Desc Imaged
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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 17-05661-DRC
Daniel M Ivans                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: moneal                       Page 1 of 2                          Date Rcvd: Jun 15, 2018
                                      Form ID: ntcdsm                    Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 17, 2018.
db             +Daniel M Ivans,    8200 N. Lincoln Ave., Apt 313,     Skokie, IL 60077-2431
25432518       +Battaglia Distributing Co.,    c/o Orin S. Rotman,     Stein & Rotman,
                 77 W. Washington St. #1105,    Chicago, IL 60602-3249
25379051       +Battaglia Distributing Co., Inc.,     c/o Orin Rotman,    77 West Washington St Suite 1105,
                 Chicago, IL 60602-3249
25379050       +Battaglia Distributing Co., Inc.,     2500 S Ashland Ave,    Chicago, IL 60608-5321
25514856        Bluepearl Veterinary Partners,     2725 Dempster St,    Skokie, IL 60076
25514857       +City of Chicago,    Dept of Finance,    PO Box 88292,    Chicago, IL 60680-1292
25379053       +Cook County Clerk,    118 N. Clark St.,    Room 434,    Chicago, IL 60602-1413
25379054       +Cook County State’s Attorney,    69 W Washington St.,     Chicago, IL 60602-3134
25379055       +Cook County Treasurer,    118 N Clark St,    Room 212,    Chicago, IL 60602-1589
25514862       +DW Story & Assoc,    1424 S 3rd St,    Mabank, TX 75147-7580
25514858       +David Lien,   AAA Bankruptcy LLC,     PO Box 1108,    Williams Bay, WI 53191-1108
25379057       +Dominici Foods Inc.,    1901 Durand Ave,    Racine, WI 53403-3275
25514859       +Dr Ashur Joseph DDS,    4801 W Peterson,    Chicago, IL 60646-5795
25514860       +Greco,   1550 Hecht Rd,    Bartlett, IL 60103-1697
25379058       +Greco & Sons,    Wolkin Law Group,    235 W Giaconda Way, #217,    Tucson, AZ 85704-4343
25719161        IL Dept of Revenue Bankruptcy Section,     PO Box 19035,    Springfield, IL 62794-9035
25379062       +Jane Nikolai Treasurer,    730 Wisconsin Ave.,     Racine, WI 53403-1238
25379064       +Martin Cohn, Esq.,    333 West Wacker Drive -- 17th Floor,     Chicago, IL 60606-1247
25379047       +NEWLINE FINANCIAL LLC,    c/o LAWRENCE C. RUBIN,      111 E WACKER DRIVE, SUITE 2800,
                 Chicago, IL 60601-4277
25379065       +Racine County Treasurer,    730 Wisconsin Ave.,     Racine, WI 53403-1269
25514861       +Susan Kaneko,    c/o Wilber & Associates,    210 Landmark Dr,    Normal, IL 61761-2119
25379066        Treasurer Village of Mt. Pleasant,     P.O. Box 1126,    Kenosha, WI 53141-1126
25379067        WISCONSIN DEPARTMENT OF REVENUE,     PO Box 8906,    Madison, WI 53708-8906

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
25379049       +E-mail/Text: NDAILY@KSNLAW.COM Jun 16 2018 00:13:03       8200 N Lincoln,
                 c/o Kovitz Shifrin Nesbit,    175 N Archer Ave.,   Mundelein, IL 60060-2301
25419720       +E-mail/Text: NDAILY@KSNLAW.COM Jun 16 2018 00:13:03
                 8200 North Lincoln Condominium Association,    c/o Kovitz Shifrin Nesbit,
                 175 N. Archer Avenue,    Mundelein, IL 60060-2301
25770235        EDI: BL-BECKET.COM Jun 16 2018 03:58:00      Capital One, N.A.,    c/o Becket and Lee LLP,
                 PO Box 3001,   Malvern PA 19355-0701
25379052       +EDI: CONVERGENT.COM Jun 16 2018 03:58:00      Convergent Outsoucing, Inc,     Po Box 9004,
                 Renton, WA 98057-9004
25379056       +EDI: CCS.COM Jun 16 2018 03:58:00      Credit Collections Svc,    Po Box 773,
                 Needham, MA 02494-0918
25379059       +E-mail/Text: HWIBankruptcy@hunterwarfield.com Jun 16 2018 00:13:24        Hunter Warfield,
                 Attention: Bankruptcy,    4620 Woodland Corporate Blvd,    Tampa, FL 33614-2415
25379060       +E-mail/Text: rev.bankruptcy@illinois.gov Jun 16 2018 00:13:16
                 Illinois Department of Revenue,    Bankruptcy Department,    P. O. Box 64338,
                 Chicago, IL 60664-0291
25379061        EDI: IRS.COM Jun 16 2018 03:58:00      Internal Revenue Service,
                 Centralized Insolvency Ooperations,    P.O.Box 7346,    Philadelphia, PA 19101-7346
25379063       +EDI: CBSKOHLS.COM Jun 16 2018 03:58:00      Kohls/Capital One,    Kohls Credit,    Po Box 3043,
                 Milwaukee, WI 53201-3043
25379048       +E-mail/Text: legal@newlinefinancial.com Jun 16 2018 00:14:25       NEWLINE FINANCIAL LLC,
                 c/o Jordan Gross,   55 W. Monroe St., Suite 910,     Chicago, IL 60603-5138
25514863       +E-mail/Text: home.fss-bankruptcy.934c00@statefarm.com Jun 16 2018 00:13:38
                 State Farm Insurance Co,    2720 Ireland Grove Road,    Bloomington, IL 61709-0001
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 17, 2018                                            Signature: /s/Joseph Speetjens
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District/off: 0752-1          User: moneal                Page 2 of 2                  Date Rcvd: Jun 15, 2018
                              Form ID: ntcdsm             Total Noticed: 34

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 14, 2018 at the address(es) listed below:
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Ronald J. Kapustka    on behalf of Creditor   8200 North Lincoln Condominium Association
               ndaily@ksnlaw.com, bankruptcy@ksnlaw.com
              Timothy M Hughes    on behalf of Debtor 1 Daniel M Ivans thughes@lavellelaw.com,
               r41234@notify.bestcase.com
              Tom Vaughn    ecf@tvch13.net, ecfchi@gmail.com
                                                                                             TOTAL: 4
